                Case 2:17-cv-02916-JAD-BNW Document 85
                                                    84 Filed 01/11/21
                                                             01/08/21 Page 1 of 3



 1   KAMER ZUCKER ABBOTT
     R. Todd Creer        #10016
 2   Kaitlin H. Paxton    #13625
     3000 West Charleston Boulevard, Suite 3
 3   Las Vegas, Nevada 89102-1990
     Tel: (702) 259-8640
 4   Fax: (702) 259-8646
     tcreer@kzalaw.com
 5   kpaxton@kzalaw.com

 6   Attorneys for Defendant
     City of North Las Vegas
 7

 8                                                    UNITED STATES DISTRICT COURT
                                                          DISTRICT OF NEVADA
 9
     PAMELA DITTMAR,                        )                                         Case No. 2:17-cv-02916-JAD-BNW
10                                          )
                             Plaintiff,     )                                         STIPULATION AND REQUEST FOR
11                                          )                                         EXTENSION OF DISPOSITIVE
     vs.                                    )                                         MOTION AND JOINT PRETRIAL
12                                          )                                         ORDER DEADLINES
     CITY OF NORTH LAS VEGAS, a municipal )
13   corporation,                           )                                         (First Request)
                                            )
14                           Defendant.     )
     ______________________________________ )
15
                  Pursuant to Local Rule IA 6-1 and Local Rule 26-3, the parties, by and through their respective
16
     counsel of record, stipulate and request that the Court grant an extension of time for the remaining
17
     deadlines, including dispositive motions, to correspond with today’s Order for a three-week extension
18
     for limited discovery. In support of this Stipulation and Request, the parties state as follows:
19
           1. Discovery was scheduled to conclude on December 31, 2020 (ECF No. 71).
20
           2. Defendant filed an Emergency Motion for Protective Order regarding two depositions on
21
                  December 28, 2020 (ECF No. 72). In Plaintiff’s Response filed on December 31, 2020, she
22
                  requested the discovery deadline be extended for limited purposes (ECF No. 77).
23

24



     KAMER ZUCKER ABBOTT                          Attorneys at Law
     3000 West Charleston Boulevard, Suite 3 • Las Vegas, NV 89102 • (702) 259-8640                             Page 1 of 3
                Case 2:17-cv-02916-JAD-BNW Document 85
                                                    84 Filed 01/11/21
                                                             01/08/21 Page 2 of 3



 1         3. On January 8, 2021, the Court ordered a limited, three-week extension to the discovery

 2                deadline from the date of the Order to conduct the two depositions (ECF No. 83). This

 3                creates a new discovery deadline of January 29, 2021.

 4         4. Transcripts of depositions typically take two (2) weeks to prepare. Then, the deponents will

 5                each have 30 days to review and make any necessary changes to their deposition transcripts.

 6         5. Based on this time frame, the deposition review/correction process will likely not be

 7                completed before the current February 1, 2021 dispositive motion deadline.

 8         6. Since the depositions taken by the parties may be important for briefing any dispositive

 9                motions that are filed, the parties are seeking an extension of time of the dispositive motion

10                deadline to allow for the completion of the deposition review process by both parties. The

11                parties further seek a corresponding extension for the Joint Pretrial Order. The new deadlines

12                will be as follows:

13                        •      Dispositive Motion Deadline: Monday, March 1, 2021

14                        •      Joint Pretrial Order: Pursuant to LR 26(1)(e)(5) the Joint Pretrial Order shall be filed
15                               with this Court no later than thirty (30) days after the date set for filing dispositive
16                               motions, which shall be by Wednesday, March 31, 2021, unless dispositive motions
17                               are filed, in which case the date for filing the Joint Pretrial Order shall be suspended
18                               until thirty (30) days after the decision on the dispositive motions or further order of
19                               this Court. The disclosures required by Fed. R. Civ. P. 26(a)(3) and any objections
20                               shall be included in the final pretrial order.
21         7. This Request for an extension of time is not sought for any improper purpose or other purpose
22                of delay. Rather, it is sought by the parties solely to allow sufficient time to complete
23                dispositive motions in this case following the conclusion of the deposition review process as
24                set forth above.



     KAMER ZUCKER ABBOTT                          Attorneys at Law
     3000 West Charleston Boulevard, Suite 3 • Las Vegas, NV 89102 • (702) 259-8640                         Page 2 of 3
                Case 2:17-cv-02916-JAD-BNW Document 85
                                                    84 Filed 01/11/21
                                                             01/08/21 Page 3 of 3



 1         8. This is the first request for an extension of time of the dispositive motion and Joint Pretrial

 2                Order deadlines in this matter. Pursuant to LR 26-3, this Request has been made at least 21

 3                days prior to the current dispositive motion deadline.

 4   WHEREFORE, the parties respectfully request that the Court extend the dispositive motion deadline

 5   from February 1, 2021 to March 1, 2021 and the Joint Pretrial Order deadline from March 3, 2021

 6   to March 31, 2021 in this matter.

 7                DATED this 8th day of January, 2021.

 8     Respectfully submitted,                                                          Respectfully submitted,

 9     MELANIE HILL LAW PLLC                                                            KAMER ZUCKER ABBOTT

10     /s/ Melanie A. Hill                                                              /s/ Kaitlin H. Paxton
       Melanie A. Hill         #8796                                                    R. Todd Creer         #10016
               th
11     520 S. 7 Street, Suite A                                                         Kaitlin H. Paxton     #13625
       Las Vegas, Nevada 89101                                                          3000 West Charleston Boulevard, Suite 3
12     Tel: (702) 362-8500                                                              Las Vegas, Nevada 89102
       Fax: (702) 362-8505                                                              Tel: (702) 259-8640
13                                                                                      Fax: (702) 259-8646

14     Attorney for Plaintiff                                                           Attorneys for Defendant
       Pamela Dittmar                                                                   City of North Las Vegas
15

16                                        ORDER
                  IT IS SO ORDERED.
17                             IT IS SO ORDERED

18                                                DATED: 4:29 pm, January 11, 2021

19   DATE                                                                             UNITED STATES MAGISTRATE JUDGE

20                                                BRENDA WEKSLER
                                                  UNITED STATES MAGISTRATE JUDGE
21

22

23

24



     KAMER ZUCKER ABBOTT                          Attorneys at Law
     3000 West Charleston Boulevard, Suite 3 • Las Vegas, NV 89102 • (702) 259-8640                                        Page 3 of 3
